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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


                                                               Bankruptcy
   In re
                                                               Case No. 22-33553 (CML)
   Alexander E. Jones,
                                                               Chapter 11
                    Debtor,

   David Wheeler, Francine Wheeler, Jacqueline
   Barden, Mark Barden, Nicole Hockley, Ian Hockley,
   Jennifer Hensel, Donna Soto, Carlee Soto Parisi,            Adv. Pro. No.: 22-03037 (CML)
   Carlos M. Soto, Jillian Soto Marino, William
   Aldenberg, William Sherlach, Robert Parker, and
   Richard M. Coan, as Chapter 7 Trustee for the
   Estate of Erica Lafferty
                    Plaintiffs,
            v.
   Alexander E. Jones and Free Speech Systems, LLC,
                    Defendants.


                 DECLARATION OF ALINOR C. STERLING IN SUPPORT OF
                   PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


ALINOR C. STERLING declares pursuant to 28 U.S.C. § 1746:

       1.        My name is Alinor Sterling. I am over the age of twenty-one years and am fully

competent to make this affidavit. I have personal knowledge of the facts stated in this affidavit,

which are true and correct.

       2.        I am an attorney in the law firm of Koskoff Koskoff & Bieder, PC. I am counsel

for David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian

Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,

William Aldenberg, William Sherlach, and Robert Parker in this action.

       3.        I submit this affidavit in support of Plaintiffs’ Motion for Summary Judgment.
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         4.      Attached hereto as Exhibit 1 is the complaint in Lafferty, et al. v. Jones, et al., Case

No. X06-UWY-CV-XX-XXXXXXX-S,1 in the Superior Court of Connecticut, Judicial District of

Waterbury, dated May 23, 2018.

         5.      Attached hereto as Exhibit 2 is the complaint in Sherlach v. Jones, et al., Case No.

X06-UWY-CV-XX-XXXXXXX-S, in the Superior Court of Connecticut, Judicial District of

Waterbury, dated July 2, 2018.

         6.      Attached hereto as Exhibit 3 is the complaint in Sherlach, et al. v. Jones, et al. Case

No. X06-UWY-CV-XX-XXXXXXX-S, in the Superior Court of Connecticut, Judicial District of

Waterbury, dated November 15, 2018 (together with Lafferty and Sherlach, the “Connecticut

Action”).

         7.      Attached hereto as Exhibit 4 is a printed version of the docket from the Connecticut

Action as of May 9, 2023.

         8.      Attached hereto as Exhibit 5 is the special motion to dismiss plaintiffs’ complaint

filed by Jones in the Connecticut Action, dated November 21, 2018, docket number 113, cited in

the Complaint at ¶ 64.

         9.      Attached hereto as Exhibit 6 is the order by Judge Bellis on the motion for limited

discovery filed by Jones in the Connecticut Action, dated December 17, 2018, docket number

123.10, cited in the Complaint at ¶ 64.

         10.     Attached hereto as Exhibit 7 is an excerpt from the transcript of the June 18, 2019

hearing in the Connecticut Action, docket number 269, cited in the Complaint at ¶¶ 66–67.

         11.     Attached hereto as Exhibit 8 is the decision issued by the Connecticut Supreme

Court, dated July 23, 2020.



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    Terms not otherwise defined have the meaning given to them in Plaintiffs’ motion for summary judgment.


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        12.    Following remand, Jones continued actively defending the case, including by

seeking extensive discovery from every Plaintiff, including insisting on extensive production of

Plaintiffs’ medical records, personal email correspondence and other documents. Jones also

deposed every Plaintiff but one.

        13.    Attached hereto as Exhibit 9 is the order regarding the motion for sanctions based

on the Jones’s violation of the protective order in the Connecticut Action, dated August 5, 2021,

docket number 394.10, cited in the Complaint at ¶ 70.

        14.    Attached hereto as Exhibit 10 is the order by Judge Bellis regarding the motion for

sanctions filed by Plaintiffs in the Connecticut Action, dated August 6, 2021, docket number

428.10, cited in the Complaint at ¶ 72.

        15.    Attached hereto as Exhibit 11 is the motion for sanctions re: Google Analytics &

social media data filed by Plaintiffs in the Connecticut Action, dated August 24, 2021, docket

number 450, cited in the Complaint at ¶ 65.

        16.    Attached hereto as Exhibit 12 is the order by Judge Bellis regarding the motion for

sanctions re: Google Analytics & social media data filed by Plaintiffs in the Connecticut Action,

dated September 30, 2021, docket number 450.20, cited in the Complaint at ¶ 73.

        17.    Attached hereto as Exhibit 13 is the transcript of the October 20, 2021 hearing in

the Connecticut Action, dated October 22, 2021, docket number 525, cited in the Complaint at

¶ 71.

        18.    Attached hereto as Exhibit 14 is Plaintiffs’ omnibus motion for default judgment,

dated October 6, 2021, docket number 498, cited in the Complaint at ¶ 75.

        19.    Attached hereto as Exhibit 15 is the transcript of the November 15, 2021 hearing in

the Connecticut Action, dated November 18, 2021, docket number 579, cited in the Complaint at




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¶ 77.

          20.   Attached hereto as Exhibit 16 is the notice of defenses filed by Jones in the

Connecticut Action, dated November 24, 2021, docket number 594, cited in the Complaint at ¶ 78.

          21.   Attached hereto as Exhibit 17 is the order by Judge Bellis regarding Plaintiffs’

objection to the Jones’s notice of defenses in the Connecticut Action, dated December 24, 2021,

docket number 620.20, cited in the Complaint at ¶ 78.

          22.   Attached hereto as Exhibit 18 is the jury charge in the Connecticut Action, cited in

the Complaint at ¶ 83.

          23.   On September 13, 2022, the Connecticut Action proceeded to a trial on damages.

The testimony of twenty-five witnesses was presented, including Jones; Brittany Paz, FSS’s

designee; and FSS employees or former employees David Jones, Rob Dew, Tim Fruge, Joshua

Owens, Robert Jacobson and Jacob Acosta. Each Plaintiff testified and 405 full exhibits were

entered into evidence.

          24.   When it was Jones’s turn to present evidence, he called no witnesses and chose not

to testify on direct. Jones’s counsel played only one video, which was already in evidence, and

rested.

          25.   Attached hereto as Exhibit 19 is the jury verdict in the three consolidated cases in

the Connecticut Action, dated October 12, 2022, docket number 1010, cited in the Complaint

at ¶¶ 9, 84.

          26.   Attached as Exhibit 20 is the memorandum in support of the award of punitive

damages filed by Plaintiffs in the Connecticut Action, dated October 21, 2022, docket number

1018.

          27.   Attached hereto as Exhibit 21 is the memorandum in opposition to the award of




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punitive damages filed by Jones in the Connecticut Action, dated October 28, 2022, docket number

1021, cited in the Complaint at ¶ 89.

        28.    Attached hereto as Exhibit 22 is the memorandum of decision on punitive damages

issued by Judge Bellis in the Connecticut Action, dated November 10, 2022, docket number 1026,

cited in the Complaint at ¶¶ 9, 80, 90–98.

        29.    Attached hereto as Exhibit 23 is the memorandum of decision issued by Judge

Bellis denying the motions by Alex Jones and FSS for a new trial and for remittitur in the

Connecticut Action, dated December 22, 2022, docket number 1043, cited in the Complaint at ¶ 9.

        30.    Attached hereto as Exhibit 24 is the appeal to the Connecticut Appellate Court in

the Connecticut Action, dated December 29, 2022, docket number 1050, cited in the Complaint at

¶ 99.

        31.    Attached hereto as Exhibit 25 is Volume II of the September 13, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶¶ 53–55.

        32.    Attached hereto as Exhibit 26 is Volume III of the September 13, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 56.

        33.    Attached hereto as Exhibit 27 is Volume I of the September 14, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 30.

        34.    Attached hereto as Exhibit 28 is Volume II of the September 14, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 31.

        35.    Attached hereto as Exhibit 29 is Volume II of the September 15, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 44.

        36.    Attached hereto as Exhibit 30 is Volume II of the September 16, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 51.




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       37.     Attached hereto as Exhibit 31 is Volume I of the September 20, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 49.

       38.     Attached hereto as Exhibit 32 is Volume III of the September 20, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 50.

       39.     Attached hereto as Exhibit 33 is Volume III of the September 21, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 55.

       40.     Attached hereto as Exhibit 34 is Volume IV of the September 21, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶¶ 53, 58.

       41.     Attached hereto as Exhibit 35 is Volume II of the September 22, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 81.

       42.     Attached hereto as Exhibit 36 is Volume II of the September 27, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 55.

       43.     Attached hereto as Exhibit 37 is Volume I of the September 27, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶¶ 55, 58.

       44.     Attached hereto as Exhibit 38 is Volume III of the September 27, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 59.

       45.     Attached hereto as Exhibit 39 is Volume I of the September 29, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶¶ 54, 58–59.

       46.     Attached hereto as Exhibit 40 is Volume II of the September 29, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶ 57.

       47.     Attached hereto as Exhibit 41 is Volume I of the October 4, 2022 Trial Transcript

in the Connecticut Action, cited in the Complaint at ¶¶ 55, 57.

       48.     Attached hereto as Exhibit 42 is Volume II of the October 4, 2022 Trial Transcript




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in the Connecticut Action, cited in the Complaint at ¶¶ 53, 55, 57.

       49.     Attached hereto as Exhibit 43 is Volume III of the October 4, 2022 Trial Transcript

in the Connecticut Action, cited in the Complaint at ¶ 59.

       50.     Attached hereto as Exhibit 44 is Plaintiffs’ Trial Exhibit 1a in the Connecticut

Action, dated December 14, 2012, cited in the Complaint at ¶ 34.

       51.     [Intentionally left blank]

       52.     Attached hereto as Exhibit 46 is Plaintiffs’ Trial Exhibit 6b in the Connecticut

Action, dated January 27, 2013, cited in the Complaint at ¶ 48.

       53.     Attached hereto as Exhibit 47 is Plaintiffs’ Trial Exhibit 13d in the Connecticut

Action, dated February 3, 2014, cited in the Complaint at ¶ 32.

       54.     Attached hereto as Exhibit 48 is Plaintiffs’ Trial Exhibit 17f in the Connecticut

Action, dated May 13, 2014, cited in the Complaint at ¶ 48.

       55.     [Intentionally left blank]

       56.     Attached hereto as Exhibit 50 is Plaintiffs’ Trial Exhibit 19i in the Connecticut

Action, dated September 25, 2014, cited in the Complaint at ¶ 48.

       57.     Attached hereto as Exhibit 51 is Plaintiffs’ Trial Exhibit 20a in the Connecticut

Action, dated December 27, 2014, cited in the Complaint at ¶ 48.

       58.     Attached hereto as Exhibit 52 is Plaintiffs’ Trial Exhibit 22a in the Connecticut

Action, dated December 28, 2014, cited in the Complaint at ¶ 45.

       59.     Attached hereto as Exhibit 53 is Plaintiffs’ Trial Exhibit 23a in the Connecticut

Action, dated January 13, 2016, cited in the Complaint at ¶ 46.

       60.     Attached hereto as Exhibit 54 is Plaintiffs’ Trial Exhibit 27 in the Connecticut

Action, dated June 3, 2015, cited in the Complaint at ¶¶ 32, 39.




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       61.     Attached hereto as Exhibit 55 is Plaintiffs’ Trial Exhibit 35c in the Connecticut

Action, dated November 18, 2016, cited in the Complaint at ¶ 48.

       62.     Attached hereto as Exhibit 56 is Plaintiffs’ Trial Exhibit 35e in the Connecticut

Action, dated November 18, 2016, cited in the Complaint at ¶ 47.

       63.     Attached hereto as Exhibit 57 is Plaintiffs’ Trial Exhibit 37a in the Connecticut

Action, dated June 12, 2017, cited in the Complaint at ¶ 32.

       64.     Attached hereto as Exhibit 58 is Plaintiffs’ Trial Exhibit 50 in the Connecticut

Action, which is undated, cited in the Complaint at ¶ 51.

       65.     Attached hereto as Exhibit 59 is Plaintiffs’ Trial Exhibit 61 in the Connecticut

Action, dated December 19, 2012, cited in the Complaint at ¶ 36.

       66.     Attached hereto as Exhibit 60 is Plaintiffs’ Trial Exhibit 67 in the Connecticut

Action, dated September 24, 2014, cited in the Complaint at ¶ 44.

       67.     Attached hereto as Exhibit 61 is Plaintiffs’ Trial Exhibit 109 in the Connecticut

Action, dated January 29, 2013, cited in the Complaint at ¶ 38.

       68.     Attached hereto as Exhibit 62 is Plaintiffs’ Trial Exhibit 135 in the Connecticut

Action, dated October 14, 2014, cited in the Complaint at ¶ 44.

       69.     Attached hereto as Exhibit 63 is Plaintiffs’ Trial Exhibit 134 in the Connecticut

Action, dated October 19, 2014, cited in the Complaint at ¶ 44.

       70.     Attached hereto as Exhibit 64 is Plaintiffs’ Trial Exhibit 160 in the Connecticut

Action, dated December 17, 2015, cited in the Complaint at ¶ 35.

       71.     Attached hereto as Exhibit 65 is Plaintiffs’ Trial Exhibit 212 in the Connecticut

Action, dated May 7, 2013, cited in the Complaint at ¶ 31.

       72.     Attached hereto as Exhibit 66 is Plaintiffs’ Trial Exhibit 216 in the Connecticut




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Action, dated December 31, 2014, cited in the Complaint at ¶ 31.

          73.   Attached hereto as Exhibit 67 is Plaintiffs’ Trial Exhibit 217 in the Connecticut

Action, dated December 31, 2014, cited in the Complaint at ¶ 30.

          74.   Attached hereto as Exhibit 68 is Plaintiffs’ Trial Exhibit 278a in the Connecticut

Action, dated December 31, 2018, cited in the Complaint at ¶ 44.

          75.   Attached hereto as Exhibit 69 is Plaintiffs’ Trial Exhibit 336a in the Connecticut

Action, dated May 16, 2019, cited in the Complaint at ¶ 32.

          76.   Attached hereto as Exhibit 70 is Plaintiffs’ Trial Exhibit 508 in the Connecticut

Action, dated September 18, 2022, cited in the Complaint at ¶ 32.

          77.   Attached hereto as Exhibit 71 is Plaintiffs’ Trial Exhibit 550 in the Connecticut

Action, dated December 12, 2014, cited in the Complaint at ¶ 36.

          78.   Attached hereto as Exhibit 72 is Plaintiffs’ Trial Exhibit 594 in the Connecticut

Action, dated September 29, 2022, cited in the Complaint at ¶ 52.

          79.   Attached hereto as Exhibit 73 is Plaintiffs’ Trial Exhibit 195 in the Connecticut

Action.

          80.   Attached hereto as Exhibit 74 is the ruling by Judge Bellis on Plaintiffs’ motion for

default judgment, dated November 15, 2021, docket number 574, cited in the Complaint at ¶ 76.

          81.   Attached hereto as Exhibit 75 is Volume III of the September 15, 2022 Trial

Transcript in the Connecticut Action.

          82.   Attached hereto as Exhibit 76 is Volume I of the September 21, 2022 Trial

Transcript in the Connecticut Action, cited in the Complaint at ¶¶ 55.

          83.   Attached hereto as Exhibit 77 is Volume I of the September 22, 2022 Trial

Transcript in the Connecticut Action.




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        84.     Attached hereto as Exhibit 78 is Volume III of the September 22, 2022 Trial

Transcript in the Connecticut Action.

        85.     Attached hereto as Exhibit 79 is Plaintiffs’ Trial Exhibit 6a in the Connecticut

Action, dated January 27, 2013, cited in the Complaint at ¶ 37.

        86.     Attached hereto as Exhibit 80 is Plaintiffs’ Trial Exhibit 6c in the Connecticut

Action, dated January 27, 2013, cited in the Complaint at ¶ 37.

        87.     Attached hereto as Exhibit 81 is Plaintiffs’ Trial Exhibit 9a in the Connecticut

Action, dated April 9, 2013, cited in the Complaint at ¶ 40.

        88.     Attached hereto as Exhibit 82 is Plaintiffs’ Trial Exhibit 17 in the Connecticut

Action, dated May 13, 2014, , cited in the Complaint at ¶ 42.

        89.     Attached hereto as Exhibit 83 is Plaintiffs’ Trial Exhibit 397a in the Connecticut

Action, dated November 23, 2013.

        90.     Attached hereto as Exhibit 84 is Plaintiffs’ Trial Exhibit 245 in the Connecticut

Action, dated March 16, 2022.



                Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



                Executed on May 12, 2023.



                                              /s/ Alinor C. Sterling
                                              Alinor C. Sterling




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